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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

                                                     )
UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )
                v.                                   )   Criminal Case No. 08-20012
                                                     )   Civil Case No: 10-2342-JWL
ALVIN A. MARTIN,                                     )
                                                     )
                       Defendant.                    )
                                                     )



                             MEMORANDUM AND ORDER

         Defendant Alvin A. Martin was convicted following a jury trial of conspiring to

commit and to conceal the crime of interstate transportation of stolen goods, an offense

against the United States. He received a 33-month prison sentence. His attorney initiated

an appeal on his behalf, but filed an Anders brief, asserting that the appeal would be

wholly frivolous. The Tenth Circuit agreed, granted counsel’s motion to withdraw, and

dismissed the appeal. United States v. Martin, 2010 WL 1999068 (10th Cir. May 20,

2010).

         Mr. Martin has now filed a motion to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255 (doc. 193). For the reasons discussed below, that motion is

denied.

1.       Standard

         Section 2255 entitles a prisoner to relief “[i]f the court finds that the judgment was
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rendered without jurisdiction, or that the sentence imposed was not authorized by law or

otherwise open to collateral attack, or that there has been such a denial or infringement of

the constitutional rights of the prisoner as to render the judgment vulnerable to collateral

attack.” 28 U.S.C. § 2255. The court must hold an evidentiary hearing on a section 2255

motion “‘[u]nless the motion and files and records of the case conclusively show that the

prisoner is entitled to no relief.’” United States v. Galloway, 56 F.3d 1239, 1240 n.1 (10th

Cir. 1995) (quoting § 2255). A court need not grant an evidentiary hearing where the

factual allegations are contradicted by the record, inherently incredible, or when they are

conclusions rather than statements of fact. Arredondo v. United States, 178 F.3d 778, 782

(6th Cir. 1999) (quoting Engelen v. United States, 68 F.3d 238, 240 (8th Cir. 1995)); see

also United States v. Sanchez, No. 96-7039, 1997 WL 8842, *3 (10th Cir. 1997)

(“[D]efendant’s conclusory allegations . . . which contradict the record made at the plea

hearing, were insufficient to require an evidentiary hearing.”).

2.     Discussion

       Mr. Martin’s claims all challenge the effectiveness of his attorney. To obtain relief

under § 2255 on the grounds of ineffective assistance of counsel, a petitioner must

establish that his lawyer’s performance was deficient as compared to an objective standard

of reasonable performance. Strickland v. Washington, 466 U.S. 668, 687-88, 694 (1984).

“In applying this test, we give considerable deference to an attorney’s strategic decisions

and ‘recognize that counsel is strongly presumed to have rendered adequate assistance and

made all significant decisions in the exercise of reasonable professional judgment.’”

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Bullock v. Carver, 297 F.3d 1036, 1044 (10th Cir. 2002) (quoting Strickland, 466 U.S. at

690). As the one raising the challenge, the petitioner “bears the burden of establishing that

his trial counsel ‘made errors so serious that counsel was not functioning as the ‘counsel’

guaranteed the defendant by the Sixth Amendment.’” Sallahdin v. Mullin, 380 F.3d 1242,

1247-48 (10th Cir. 2004) (quoting Strickland, 466 U.S. at 687).

       The petitioner must also prove that counsel’s deficient performance prejudiced his

defense, “depriving him of a fair trial with a reliable result.” United States v. Orange, 447

F.3d 792, 796 (10th Cir. 2006) (citing Strickland, 466 U.S. at 687). Thus, to satisfy the

prejudice prong, the petitioner must show that there is a reasonable probability that but for

counsel’s alleged errors, the result of the proceeding would have been different.

Strickland, 466 U.S. at 694.

       Because the petitioner “must demonstrate both Strickland prongs to establish his

claim, a failure to prove either one is dispositive.” Orange, 447 F.3d at 796-97 (citing

Smith v. Robbins, 528 U.S. 259, 286 n.14 (2000)). “The performance component need not

be addressed first.” Smith, 528 U.S. at 286 n.14. “If it is easier to dispose of an

ineffectiveness claim on the ground of lack of sufficient prejudice, which we expect will

often be so, that course should be followed.” Strickland, 466 U.S. at 697; see also

Romano v. Gibson, 239 F.3d 1156, 1181 (10th Cir. 2001) (“This court can affirm the

denial of habeas relief on whichever Strickland prong is the easier to resolve.”).

       A.     Speedy Trial

       Mr. Martin asserts that his attorney was ineffective for failing to raise a Speedy

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Trial violation. The Speedy Trial Act “requires that a defendant be tried within seventy

days from the filing date of the indictment or from the date on which defendant appears

before a judicial officer, whichever date is later.” United States v. Gonzales, 137 F.3d

1431, 1432 (10th Cir. 1998). When a motion requires a hearing, the Act excludes the

entire time between the filing of the motion and the conclusion of the hearing. Henderson

v. United States, 476 U.S. 321, 329 (1986). If a motion does not require a hearing, “the Act

excludes time through the period of its prompt disposition, but only if that period does not

exceed thirty days from the date the motion is taken under advisement.” United States v.

Williams, 511 F.3d 1044, 1048 (10th Cir. 2007).

       In its response, the Government set forth the various periods of time that were

excluded from the Speedy Trial calculation. Although sixteen months passed between Mr.

Martin’s arrest and his trial, far fewer than seventy days actually counted for purposes of

the Speedy Trial Act.

       Mr. Martin objects specifically to the exclusion of the period of time from October

9, 2008 through April 21, 2009. He maintains that he did not cause or request the

exclusion, and thus his Speedy Trial rights were violated.

       The court’s order that excludes those days explains that the delay was due to a

requested continuance in the trial date and that “[a]ll of the defendants indicate they have

no objection to this case been continued.” (Doc. 61.) Moreover, the court found that the

continuance “would be in the interests of justice and would outweigh the collective interest

of the parties in a speedy trial.” (Id.) Because Mr. Martin agreed to the continuance, those

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days were properly excluded and Mr. Martin’s attorney was not ineffective for failing to

raise a Speedy Trial Act challenge.

       B.     Appeal

       Mr. Martin contends that his attorney’s decision to file an Anders brief instead of

more vigorously pursuing an appeal was ineffective assistance. He claims that instead his

attorney should have raised arguments about Speedy Trial, jury selection, and severance.

But the mere filing of an Anders brief cannot serve as the basis for an ineffective

assistance claim. United States v. Nash, No. 06-7092, 229 Fed. App’x 700, 702 (10th Cir.

Apr. 11, 2007); United States v. Martinez-Lomeli, 86 F.3d 1167, *2 (10th Cir. 1996)

(table).1 Moreover, the Tenth Circuit, after reviewing Mr. Martin’s attorney’s brief and

also soliciting input from Mr. Martin, agreed with the attorney that the case presented no

nonfrivolous issue for appeal. United States v. Martin, 2010 WL 1999068 (10th Cir. May

20, 2010). Thus, this claim does not warrant habeas relief.



       C.     Arguments contradicted by the record or not fully developed

       Mr. Martin asserts that his attorney was ineffective for failing to appear at the

arraignment. But the docket sheet entry for that hearing, held March 11, 2008, reflects that

Mr. Martin’s attorney was present. (Doc. 20.)

       Mr. Martin’s petition also mentions several alleged instances of ineffective conduct,


       1
        Pursuant to Tenth Circuit Rule 32.1(A), the court cites these unpublished
opinions for their persuasive value.

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but Mr. Martin never elaborates on them or explains what conduct was unreasonable and

how it prejudiced his case. For example, Mr. Martin asserts that his attorney failed to

object to this court’s denials of motion, but he never describes which motions he believes

his attorney should have challenged or how that might have changed the outcome of the

trial. Similarly, Mr. Martin claims that his attorney did not “devote full effort to the

defendant, because of a conflict of interest” and did not advise him of “all his rights

according to the Federal Codes and Rules.” Other than quoting Rule 12 of the Federal

Rules of Criminal Procedure, Mr. Martin offers no suggestion as to which rights he is

referring to or how his attorney had a conflict of interest. Mr. Martin also asserts that “the

chain of custody was broken,” but he fails to explain what this means or what his attorney

should have done differently.       These conclusory statements that his attorney was

ineffective are insufficient for this court to find that his attorney acted improperly and that

such action affected the case’s outcome. United States v. Fisher, 38 F.3d 1144, 1148 (10th

Cir. 1994).



       D.      Arguments raised for the first time in the reply brief

       Mr. Martin’s § 2255 petition itself is fairly concise, merely listing the things his

attorney allegedly failed to do. His reply memorandum is much more detailed—eleven

pages of explanation. However, in accepting a reply, this Court will “deny or exclude

summarily all arguments and issues first raised in [a] reply.” Wagher v. Guy’s Foods, Inc.,

765 F. Supp. 667, 671 (D. Kan. 1991).

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       Mr. Martin’s reply brief raised the following alleged instances of ineffective

conduct: failure to object to composition of jury panel and petit jury; failure to review

discovery or otherwise prepare; failure to cross-examine alleged co-conspirators; and

failure to brief motion for acquittal. Because these arguments were first addressed in the

reply brief, they are waived and not properly before this court. SCO Group, Inc. v. Novell,

Inc., 578 F.3d 1201, 1226 (10th Cir. 2009).

       E.     Motion to Sever

       Mr. Martin argues in his reply brief that his attorney was ineffective for failing to

file a motion to sever his trial from Mr. Martin’s co-defendant. This argument does not

appear explicitly in Mr. Martin’s § 2255 petition, in which case it appears waived. Id. It

is possible, however, to tease out from Mr. Martin’s § 2255 petition an implied argument

about a motion to sever: in his petition, Mr. Martin quotes Rule 12 of the Federal Rules

of Criminal Procedure, including Rule 12(b)(3)(D), which requires a motion to sever to

be filed before trial. He does not say anything more about it or intimate that his attorney

should have filed one. As such, the specific argument that his attorney was ineffective for

failing to move for a severance is in fact waived.

       Nonetheless, in an abundance of caution, the court notes that such argument, even

if considered on the merits, would not warrant habeas relief. First, recognizing the

presumption that counsel gave reasonable assistance, the decision not to seek severance

may have been a strategic decision entitled to deference. Bullock, 297 F.3d at 1044.

       Second, Mr. Martin has not shown that the lack of a motion to sever prejudiced his

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case, that is, that a motion to sever would have been successful and would have changed

the outcome of the proceeding.        Indeed, as an initial matter, courts recognize a

presumption in a conspiracy trial that co-conspirators charged together should be tried

together. United States v. Stiger, 413 F.3d 1185, 1197 (10th Cir. 2005). Furthermore,

“[w]hen defendants properly have been joined under Rule 8(b), a district court should

grant a severance under Rule 14 only if there is a serious risk that a joint trial would

compromise a specific trial right of one of the defendants, or prevent the jury from making

a reliable judgment about guilt or innocence.” Zafiro v. United States, 506 U.S. 534, 539

(1993). Because severance is a matter of discretion, a defendant bears the “heavy burden”

of showing “real prejudice.” United States v. McConnell, 749 F.2d 1441, 1444 (10th Cir.

1984). “Prejudice occurs when there is a serious risk that a joint trial will compromise a

specific trial right of one of the defendants, or prevent the jury from making a reliable

judgment about guilt or innocence.” Stiger, 413 F.3d at 1197.           Mr. Martin alleges

that his co-defendant’s “involvement in the alleged scheme was both deeper and more

integral,” and that Mr. Martin was therefore guilty by association and suffered prejudice

by being tried together. This allegation, however, would have been insufficient to warrant

separate trials, United states v. Colonna, 360 F.3d 1169, 1178 (10th Cir. 2004) (“[A] mere

allegation that defendant would have a better chance of acquittal in a separate trial is not

sufficient to warrant severance.”), particularly given that “Rules 8(b) and 14 are designed

‘to promote economy and efficiency and to avoid multiplicity of trials, [so long as] these

objectives can be achieved without substantial prejudice to the right of the defendants to

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a fair trial.’” Zafiro, 506 U.S. at 540 (quoting Bruton v. United States, 391 U.S. 123, 132

n.6 (1968)). Moreover, nothing occurred in the course of the trial which suggested that

either of the defendants were prejudiced by being tried together. The evidence against

both of them was overwhelming.

3.     Certificate of Appealability

       Effective December 1, 2009, Rule 11 of the Rules Governing Section 2255

Proceedings states that the court must issue or deny a certificate of appealability when it

enters a final order adverse to the applicant. “A certificate of appealability may issue . .

. only if the applicant has made a substantial showing of the denial of a constitutional

right.” 28 U.S.C. § 2253(c)(2).2 To satisfy this standard, the movant must demonstrate

that “reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.” Saiz v. Ortiz, 393 F.3d 1166, 1171 n.3 (10th Cir. 2004)

(quoting Tennard v. Dretke, 542 U.S. 274, 282 (2004)). For the reasons stated above, Mr.

Martin has not made a substantial showing of the denial of a constitutional right. The court

therefore denies a certificate of appealability.



       IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (doc. 193) is denied.



       2
         The denial of a § 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1);
28 U.S.C. § 2253(c)(1).

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    IT IS SO ORDERED this 27th day of October, 2010.


                            s/ John W. Lungstrum
                            John W. Lungstrum
                            United States District Judge




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